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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

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EASTERN DIVISION view
UNlTED STATES oF AMERlCA ) ' 1 4 CP
) No. \ '
vs. ) ,
) Violations: Title 18, United States Code,
MARK ANSTETT and ) sections 1341, 1343, and 13;1)4;/
1 GEORGE FERGUSON NiAevsTtWE wer nowva

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COUNT ONE
The SPECIAL SEPTEMBER 2012 GRAND JURY charges:
l. At times material to this indictment: . n AS§P~,RL.)IQ!;!U mm
a. Equipment Acquisition Resources,_ Inc. Was a company based in
Palatine, Illinois, that purported to make semiconductor Wafers and refurbish machinery
used to make semiconductor Wafers. Defendant MARK ANSTETT Was EAR’s
President, and co-owned EAR with Sheldon Player’s Wife.
b. Machine Tools Direct, lnc. Was a company based in Carlisle,
Pennsylvania that purchased and sold machine tools. Defendant GEORGE FERGUSON
Was MTD’s owner and President.
c. On December 21, 1988, Sheldon Player Was convicted of two counts
of Interstate Transportation of Money Taken by Fraud and one count of Mail Fraud in the
United States District Court for the District of Arizona.

d. First National Bank of McHenry, Libertyville Bank & Trust,

Millennium Bank, Waukegan Savings Bank, and First Chicago Bank & Trust Were

 

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financial institutions, the deposits of which were insured by the Federal Deposit
lnsurance Corporation.

e. Rockf`ord Capital Leasing, CM Financial Corporati_on,v Leasing One
Corporation, and Star Capital were finance companies that obtained loans from financial
institutions to provide lease financing for businesses to purchase machinery.

f. IBM Global Finance was a division of IBM, Inc. that provided
financing, including financing to EAR to purchase machinery from MTD.

g. l EAR obtained financing from financial institutions, including First
National Bank of McHenry, Waukegan Savings Bank, and Libertyville Bank & Trust,
and leasing companies, including Rockford Capital Leasing, CM Financial Corporation,
and Leasing One, to purportedly purchase machinery from MTD.

h. Financial institutions and leasing companies required companies
seeking financing to provide truthful information, including truthful information about
the nature of` the transaction in which the financing was sought and the company’s
financial status and operations

2. Beginning no later than 2006, and continuing until in or about October
2009, in the Northern District of Illinois, Eastern Division, and elsewhere,

MARK ANSTETT and
GEORGE FERGUSON,

defendants herein, together with Sheldon Player, devised, intended to devise, and
participated in a scheme to defraud financial institutions and finance companies and to

obtain money and property from financial institutions and finance companies by means of

 

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materially false and fraudulent pretenses, representations, and promises, which scheme
affected financial institutions and is further described below.

3. It was part of the scheme that defendants MARK ANSTETT and GEORGE
FERGUSON, along with Sheldon Player and others, used EAR and MTD to fraudulently
obtain at least approximately $l90 million from financial institutions and finance
companies by making and causing to be made materially false representations to financial
institutions and finance companies, including materially false representations about
EAR’s business operations, financial status, independence from MTD, and need for
financing, and for the purpose of executing the scheme caused interstate wire
transmissions and deliveries via U.S. mail.

4. lt was further part of the scheme that in order to obtain financing from
financial institutions and finance companies, defendants MARK ANSTETT and
GEORGE FERGUSON, and Sheldon Player, arranged sham sales transactions between
EAR and MTD to make EAR appear to financial institutions and finance companies as a
successful and profitable company, when defendants ANSTETT and FERGUSON knew
there were no such sales transactions between EAR and MTD, and that MTD planned to
and did remit most of the loan proceeds obtained from financial institutions and finance
companies to EAR so that EAR could use the money to make payments on other loans.

-5. lt was`further part of the scheme that defendants MARK ANSTETT and
GEORGE FERGUSON, and Sheldon Player, represented and caused to be represented to
financial institutions and finance companies that EAR and MTD were separate
companies engaging in arms-length transactions involving the sale of machinery from

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MTD to EAR, when in fact defendants ANSTETT and FERGUSON knew that there
were no such transactions between EAR and MTD and that they were using EAR and
MTD to fraudulently obtain loan proceeds from financial institutions and finance
companies

6. lt was further part of the scheme that defendants MARK ANSTETT and
GEORGE FERGUSON, and Sheldon Player, prepared and submitted, and caused to be
prepared and submitted, to financial institutions and finance companies invoices that
defendants ANSTETT and FERGUSON knew falsely stated that EAR was purchasing
equipment from MTD at false prices. `

7. lt was further part of the scheme that defendant MARK AN'STETT and
Sheldon Player made and caused to be made false representations to representatives from
financial institutions and finance companies about EAR needing to purchase equipment
because of contracts with or work to be performed for other semiconductor and
technology companies, when defendant ANSTETT knew that EAR had no such contracts
or relationships with these companies, and was not in fact seeking financing to purchase
any equipment

8. lt was further part of the scheme that defendant MARK ANSTETT made
false representations to representatives from financial institutions and finance companies
that EAR was purchasing, and the financial institutions and finance companies were thus
financing, new equipment from MTD, when defendant ANSTETT knew that those

representations were false.

 

 

 

 

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9. lt was further part of the scheme that defendants MARK ANSTETT and
GEORGE FERGUSON, and Sheldon Player, caused others to prepare and audit financial
statements for EAR; knowing that the financial statements: (l) contained false
information that inflated EAR’s sales figures; and (2) would be submitted to financial
institutions and finance companies from which EAR was seeking financing

lO. _ lt was further part of the scheme that defendant MARK ANSTETT and
Sheldon Player submitted and caused others to submit false and fraudulent EAR financial
statements to financial institutions and finance companies, knowing that these financial
statements contained false information, including false information about EAR’s sales
figures.

ll. lt was further part of the scheme that Sheldon Player altered and caused
others to alter EAR’s financial statements to remove information that Sheldon Player
knew could cause EAR to»appear less creditworthy for financing, including information
about EAR’s sales concentrations and about EAR’s potential violation of loan covenants
with a financial institution, and provided these altered financial statements to defendant
MARK ANSTETT, who sent them to financial institutions and finance companies even
though defendant ANSTETT knew the financial statements contained false information

12. lt was further part of the scheme that defendant GEORGE FERGllSON
and Sheldon Player made and caused to be made false statements to EAR’s auditors, and
submitted and caused to be submitted false documents to EAR’s auditors, during the

preparation of EAR’s audited financial statements, in order to make it appear that EAR

 

 

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and MTD were independent companies conducting arms-length sales transactions, when
defendant FERGUSOl\I knew that was false.

13. lt was further part of the scheme that defendant MARK ANSTETT knew
that different serial numbers were placed on the same pieces of EAR equipment so that
EAR could pledge one piece of equipment as collateral for multiple loans from financial
institutions or finance companies

l4. lt was further part of the scheme that defendant MARK ANSTETT and
Sheldon Player represented to financial institutions and finance companies that defendant
ANSTETT was in charge of EAR’s day-to-day business operations, and concealed
Player’s involvement in EAR, so that financial institutions and finance companies would
not learn about Player’s involvement in EAR and his criminal history.

15. lt was further part of the scheme that defendant MARK ANSTETT falsely
confirmed to representatives from financial institutions and finance companies that EAR
had received delivery of equipment purportedly purchased from MTD through financing
provided by financial institutions and finance companies, when defendant ANSTETT
knew that no such machinery had been shipped by MTD or received by EAR, and that no
real transaction existed between MTD and EAR.

l6. lt was further part of the scheme that defendant MARK ANSTETT and
Sheldon Player told representatives of financial institutions and finance companies that
EAR was in the business of making wafers for technology companies, when defendant
ANSTETT knew that EAR made most of its money through sham transactions with

MTD.

 

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l7. lt was further part of the scheme that, when EAR failed to make payments
on loans from financial institutions and finance companies, defendant MARK ANSTETT
lulled representatives from the financial institutions and finance companies by falsely
stating that EAR missed payments because of problems obtaining accounts receivables
from companies that EAR performed work for, when defendant ANSTETT knew that
EAR could not make it loan payments because it could not obtain new financing

18. lt was further part of the scheme that, as a result of their actions, defendants
MARK ANSTETT and GEORGE FERGUSON, and Sheldon Player, caused losses to
financial institutions and finance companies of at least approximately $100 million

l9. lt was further part of the scheme that defendants MARK ANSTETT and
GEORGE FERGUSON did misrepresent, conceal, and hide, and caused to be
misrepresented, concealed, and hidden, acts done in furtherance of the scheme and the
purpose of those acts.

20. Gn or about September 7, 2007, at Palatine, in the Northern District of
lllinois, Eastern Division, and elsewhere,

' MARK ANSTETT and
GEORGE FERGUSON,

defendants herein, for the purpose of executing the scheme to defraud, knowingly caused
to be deposited, to be sent and delivered via U.S. mail, a check from CM Financial
Corporation to MTD in the amount of $150,000, addressed to MTD in Carlisle,
Pennsylvania, which funds represented financing to EAR from CM Financial Corporation

for the purchase of equipment from MTD;

 

 

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ln violation of Title 18, Unit'ed States 'Code, Section l34l.

 

 

 

 

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COUNT TWO
The SPECIAL SEPTEMBER 2012 GRAND JURY further charges:
l_. Th_e allegations in paragraphs l through 19 of Count One of this indictment
are incorporated here.
2. On or about July 21, 2008, at Palatine, in the Northern District of lllinois,

Eastern Division, and elsewhere,

MARK ANSTETT and
GEORGE FERGUsoN,

defendants herein, for the purpose of executing the scheme to defraud, knowingly caused
to be transmitted by means of wire communication in interstate commerce, certain
writings, signs, and signals, namely, an interstate wire transfer processed through the
Federal Reserve System in the amount of approximately $474,000 from a Rockford
Capital Leasing account at Amcor Bank to an MTD account at Orrstown Bank, which
funds represented financing from Rockford Capital Leasing, funded by First Chicago
Bank & Trust, to EAR for the purchase of equipment from MTD; f

ln violation of Title 18, United States Code, Section 1343.

 

 

 

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COUNT THREE
The SPECIAL SEPTEMBER 2012 GRAND JURY further charges:
l. The allegations in paragraphs l through 19 of Count One of this indictment
are incorporated here.
2. On or about lune 17, 2009, at Palatine, in the Northern District of lllinois,

Eastern Division, and elsewhere,

MARK ANSTETT and
GEORGE FERGUSON, v

defendants herein, for the purpose of executing the scheme to defraud, knowingly caused
to be transmitted by means of wire communication in interstate commerce, certain
writings, signs, and signals, namely, an interstate wire transfer processed through the
Federal Reserve System in the amount of approximately $895,000 from Millennium
Bank to an MTD account at Orrstown Bank, which funds represented financing from
Millennium Bank to EAR for the purchase of equipment from MTD;

ln violation of Title 18, United States Code, Section 1343.

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COUNT FOUR
The SPECIAL SEPTEMBER 2012 GRAND JURY further charges:
l. The allegations in paragraphs l through 19 of Count One of this indictment
are incorporated here. k
2. On or about August 3, 2009, _at Palatine, in the Northern District of lllinois,

Eastern Division, and elsewhere,

MARK ANSTETT and
GEORGE FERGUSON,

defendants herein, for the purpose of executing the scheme to defraud, knowingly caused
to be transmitted by means of wire communication in interstate commerce, certain
writings, signs, and signals, namely, an interstate wire transfer processed through the
Federal Reserve System in the amount of approximately $l,300,450 from Far-rners Bank
and Capital Trust to an MTD account at Orrstown Bank, which funds represented
financing from Leasing One Corporation to EAR for the purchase of equipment from
MTD;

ln violation of Title 18, United States Code, Section 1343.

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COUNT FIVE
The SPECIAL SEPTEMBER 2012 GRAND JURY further charges:
1. The allegations in paragraphs l through 19 of Count One of this indictment
are incorporated here.
2. On or about August 5, 2009, at Palatine, in the Northern District of lllinois,
Eastern Division, and elsewhere, l l

MARK ANSTETT and
GEORGE FERGUsoN,

defendants herein, for the purpose of executing the scheme to defraud, knowingly caused
to be transmitted by means of wire communication in interstate commerce, certain
writings, signs, and signals, namely, an interstate wire transfer processed through the
Federal Reserve System in the amount of approximately $1,363,780 from First National
Bank of McHenry to an MTD account at Orrstown Bank, which funds represented
financing from First National Bank of McHenry to EAR for the purchase of equipment
from MTD;

ln violation of Title 18, United States Code, Section 1343.

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COUNT SIX
The SPECIAL SEPTEMBER 2012 GRAND JURY further charges:
1. 'l`he allegations in paragraphs l through 19 of Count One of this indictment
are incorporated here.
_2. On or about September 23, 2009, at Palatine, in the Northern District of
lllinois, Eastern Division, and elsewhere,

MARK ANSTETT and
GEORGE FERGUSON,

defendants herein, for the purpose of executing the scheme to defraud, knowingly caused
to be transmitted by means of wire communication in interstate commerce, certain
writings, signs, and signals, namely, an electronic mail message from Sheldon Player to
defendant GEORGE FERGUSON, carbon copied to defendant MARK ANSTETT, that
traveled through servers located in different states, in which Player told defendant
FERGUSON to make false statements to a representative from Star Capital about
machinery being shipped from MTD to EAR;

ln violation of Title 18, United States Code, Section 1343.

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COUNT SEVEN
The SPECIAL SEPTEMBER 2012 GRAND JURY further charges:
1. The allegations in paragraph l(a), (b), (c), (d), (g), and (h) of Count One of
this indictment are incorporated here.
2. Beginning no later than 2006, and continuing until in or about October
2009, in the Northern District of lllinois, Eastern Division, and elsewhere,

MARK ANSTETT and
GEORGE FERGUsoN,

defendants herein, together with Sheldon Player, knowingly participated in a scheme to
defraud and to obtain money and funds owned by and under the custody and control of
financial institutions, by means of materially false and fraudulent pretenses,
representations, and promises, which scheme is further described below.

3. The allegations in paragraphs 3 through 19 of Count One of this indictment
are incorporated here.

4.' On or about October ll, 2007, at Palatine, in the Northern District of

lllinois, Eastern Division, and elsewhere,

MARK ANSTETT and
GEORGE FERGUSON,

defendants herein, knowingly executed and attempted to execute the scheme to defraud
by causing Libertyville Bank and Trust, a financial institution insured by the Federal
Deposit lnsurance Corporation, to provide financing in the amount of approximately
$2,775,086 for EAR’s purchase of machinery from MTD;

ln violation of Title 18, United States Code, Section 1344.

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C()UNT EIGHT
The SPECIAL SEPTEMBER 2012 GRAND JURY further charges:

l. The allegations in paragraphs 1 and 3 of Count Seven of this indictment are
incorporated here.
2. On or about October 15, 2008, at Palatine, in the Northern District of

lllinois, Eastern Division, and elsewhere,

MARK ANSTETT and
GEORGE FERGUSON,

defendants herein, knowingly executed and attempted to execute the scheme to defraud
by causing Waukegan Savings Bank, a financial institution insured by the Federal
Deposit lnsurance Corporation, to issue a check to EAR in the amount of approximately
$746,250, which funds constituted financing from Waukegan Savings Bank to EAR for
the purchase of machinery from MTD;

~ ln violation of Title 18, United States Code, Section 1344.

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COUNT NINE
The SPECIAL SEPTEMBER 2012 GRAND JURY further charges:
1. The allegations in paragraphs l and 3 of Count Seven of this indictment are
incorporated here.
2. On or about June 17, 2009, at Palatine, in the Northern District of lllinois,

Eastern Division, and elsewhere,

MARK ANSTETT and
GEORGE FERGUSON,

defendants herein, knowingly executed and attempted to execute the scheme to defraud
by causing Millennium Bank, a financial institution insured by the Federal Deposit
lnsurance Corporation, to provide financing in the amount of approximately $8'95,000 for
EAR’s purchase of machinery from MTD; l

ln violation of Title 18, United States Code, Section 1344.

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COUNT TEN
The SPECIAL SEPTEMBER 2012 GRAND JURY further charges:
1. The allegations in paragraphs l and 3 of Count Seven of this indictment are
incorporated here.
2. On or about August 5, 2009, at Palatine, in the Northern District of lllinois,

Eastern Division, and elsewhere,

MARK ANSTETT and
GEORGE FERGUSON,

defendants herein, knowingly executed and attempted to execute the scheme to defraud
by causing First National Bank of McHenry, a financial institution insured by the Federal
Deposit lnsurance Corporation, to provide financing in the amount of approximately
$1,363,780 for EAR’s purchase of machinery from MTD;

ln violation of Title 18, United States Code, Section 1344.

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FORFEITURE ALLEGATION

The SPEClAL SEPTEMBER 2012 GRAND JURY further charges:

l. The allegations of Counts One through Ten of this indictment rare
incorporated here for the purpose of alleging that certain property is subject to forfeiture
pursuant to Title 18, United States Code, Section 982(a)(2).

2. As a result of their violations of Title 18, United States Code, Section 1341,
1343, and 1344, as alleged in Counts One through Eleven of this indictment,

MARK ANSTETT and
GEORGE FERGUSON,

defendants herein, shall forfeit to the United States, any and all right, title, and interest
they may have in any property, real and personal, which constitutes and is derived from
proceeds traceable to the offenses charged in Counts One through Ten.
3. The interests of defendants subject to forfeiture pursuant to Title 18, United
States Code, Section 982(a)(2) include, but are not limited to, approximately $l9o
million.
4. lf any of the property subject to forfeiture and described above, as a result
of any act or omission of defendants:
(a) cannot be located upon the exercise of due diligence;
(b) has been transferred or sold to, or deposited with,.a third party;
(c) has been placed beyond the jurisdiction of the court;
(d) has been substantially diminished in value;` or

(e) has been commingled with other property which cannot be divided

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without difficulty;
the United States of America shall be entitled to forfeiture of substitute property pursuant
to the provisions of Title 21, United States Code, Section 853(p), as incorporated by Title
28, United States Code, Section 2461;

All pursuant to Title 18, United States Code, Section 982(a)(2).

A TRUE BILL:

 

FOREPERSON

 

UNITED STATES ATTORNEY

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